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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 DISPLAY TECHNOLOGIES, LLC,                       )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )   C.A. No. 20-00259-RGA
                                                  )
 FCA US, LLC,                                     )   JURY TRIAL DEMANDED
                                                  )
                Defendant.                        )

                  DEFENDANT FCA US LLC’S ANSWER AND DEFENSES TO
                    COMPLAINT FOR PATENT INFRINGEMENT

       Defendant FCA US LLC (“FCA”), by and through the undersigned attorneys, hereby

responds by way of Answer and Defenses to the Complaint (“Complaint”) of plaintiff Display

Technologies, LLC (“Display” or “Plaintiff”), as follows:

                               PARTIES AND JURISDICTION

       1.      FCA admits that Display purports to present an action for patent infringement under

Title 35 of the United States Code, and requests injunctive relief and damages. FCA denies any

remaining allegations in this paragraph of the Complaint.

       2.      The allegations of this paragraph are legal conclusions that do not require a

response from FCA. To the extent the allegations require a response, FCA admits that this Court

has subject matter jurisdiction for civil actions for patent infringement pursuant to U.S.C. §§ 1331

and 1338(a), and denies any remaining allegations in this paragraph of the Complaint.

       3.      FCA is without knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph of the Complaint and therefore denies those allegations.

       4.      FCA admits the allegations of this paragraph.

       5.      The allegations of the paragraph are legal conclusions that do not require a response
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from FCA. To the extent the allegations require a response, FCA admits that this court has personal

jurisdiction over FCA US LLC but denies that FCA has committed acts giving rise to Plaintiff’s

claim of patent infringement within this judicial district and the state of Delaware, and denies the

remaining allegations in this paragraph of the Complaint.

       6.       FCA denies the allegations of this paragraph.

                                              VENUE

       7.       This paragraph of the Complaint states a legal conclusion and does not require a

response from FCA. To the extent a response is required, FCA denies the allegations set forth in

this paragraph of the Complaint and specifically denies that venue is convenient in this jurisdiction.

                                    COUNT I
               (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

       8.       FCA references and incorporates by reference all of the preceding paragraphs of

this Answer.

       9.       FCA admits that the present action purports to arise under the patent laws of the

United States. FCA is without knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in this paragraph of the Complaint and therefore denies those

allegations.

       10.      FCA is without knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph of the Complaint and therefore denies those allegations.

       11.      FCA admits that a copy of U.S. Patent No. 9,300,723 (the “’723 patent” or

“Asserted Patent”) is attached to the Complaint as Exhibit A.

       12.      FCA denies the allegations of this paragraph

       13.      FCA denies the allegations of this paragraph.

       14.      FCA denies the allegations of this paragraph.



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       15.     FCA admits that certain infotainment systems in FCA vehicles include Bluetooth

functionality, and denies the remaining allegations of this paragraph.

       16.     FCA denies the allegations of this paragraph.

       17.     FCA denies the allegations of this paragraph.

       18.     FCA denies the allegations of this paragraph.

       19.     FCA denies the allegations of this paragraph.

       20.     FCA denies the allegations of this paragraph.

       21.     FCA denies the allegations of this paragraph.

       22.     FCA denies the allegations of this paragraph.

       23.     FCA denies the allegations of this paragraph.

       24.     FCA denies the allegations of this paragraph.

       25.     FCA denies the allegations of this paragraph.

       26.     FCA denies the allegations of this paragraph.

       27.     FCA is without knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph of the Complaint and therefore denies those allegations.

                                    PRAYER FOR RELIEF

       FCA denies that Display is entitled to any of the relief requested in paragraphs (a) through

(e) of its Prayer for Relief or to any relief in any form whatsoever from FCA.

                                           DEFENSES

       28.     FCA asserts the following defenses and in asserting such defenses does not concede

that it bears the burden of proof as to any of them. Discovery has not yet begun, and FCA has not

yet collected and reviewed all of the information and materials that may be relevant to the matters

and issues raised herein. Accordingly, FCA reserves the right to amend, modify, or expand these




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defenses and to take further positions as discovery proceeds in this case.

                                FIRST DEFENSE: INVALIDITY

       29.     One or more of the claims of the Asserted Patent are invalid for failure to satisfy

the requirements of patentability set forth in 35 U.S.C. § 101, et seq.

       30.     One or more of the claims of the Asserted Patent are invalid under 35 U.S.C. §§

102 and/or 103 as anticipated and/or obvious.

       31.     One or more of the claims of the Asserted Patent fail to meet the requirements of

35 U.S.C. § 112, at least as being indefinite and lacking written description and enablement for

failing to describe and enable the full scope of the claims

                        SECOND DEFENSE: NON-INFRINGEMENT

       32.     FCA has not made, used, sold, offered for sale, and/or imported in or into the United

States any system, product, or process that practices any claim in the Asserted Patent, either

literally or under the doctrine of equivalents.

       33.     FCA has not actively induced or contributed to the infringement of another under

35 U.S.C. §§ 271(b)-(c). FCA has not induced infringement nor contributed to the infringement of

another because, at a minimum, FCA lacked the requisite state of mind and has not actively and

knowingly aided or abetted the direct infringement of another.

               THIRD DEFENSE: LICENSE AND/OR PATENT EXHAUSTION

       34.     To the extent that one or more of FCA’s suppliers hold a license or other rights to

the Asserted Patent and supplies licensed components and/or parts for assembly of or assembly

into the accused products, Display’s claims would be barred.

                       FOURTH DEFENSE: MARKING AND NOTICE

       35.     To the extent that Display and/or any licensee of the Asserted Patent had an




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obligation and failed to mark products that fall within the claims of the Asserted Patent, Display’s

claims against FCA would be barred, in whole or in part, in accordance with 35 U.S.C. § 287.

                    FIFTH DEFENSE: FAILURE TO STATE A CLAIM

       36.     Display fails to state a claim against FCA upon which relief can be granted.

       37.     FCA cannot be liable for indirect infringement before its receipt of the Complaint,

filed on February 23, 2020, at least because FCA did not have notice of the Asserted Patent before

that time. FCA cannot be liable for indirect infringement after its receipt of the Complaint, filed

on February 23, 2020, at least because the Complaint does not put FCA on sufficient notice of any

alleged infringement.

       38.     To the extent Display alleges that FCA has indirectly infringed and/or continues to

indirectly infringe the Asserted Patent under 35 U.S.C. §§ 271(b),(c), Display has failed to plead

any facts that, if true, could render FCA liable for indirect patent infringement.

                SIXTH DEFENSE: PROSECUTION HISTORY ESTOPPEL

       39.     Display’s claims for relief are barred, in whole or in part, by prosecution history

estoppel based on statements, representations, and admissions made during the prosecution before

the U.S. Patent Office of the patent applications that led to the Asserted Patent.

         SEVENTH DEFENSE: WAIVER, ESTOPPEL, AND UNCLEAN HANDS

       40.     Display’s claims against FCA are barred, in whole or in part, by one or more of the

equitable doctrines of waiver, estoppel, and unclean hands because of Display’s unreasonable and

inexcusable delay in filing this litigation and/or its intervening actions both during prosecution of

the Asserted Patent and between issuance of the Asserted Patent and the date of the filing of the

Complaint.

       41.     Despite that FCA and its predecessors have sold and publicly marketed the accused




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functionality for several years, Display made no assertion of any claim against FCA until, at the

earliest, FCA received the Complaint.

       42.     FCA has been materially prejudiced by Display’s delay in bringing its claim at least

because the passage of so much time has potentially led to the loss of evidence that FCA could use

in defending itself against Display’s claims.

                         EIGHTH DEFENSE: LIMIT ON DAMAGES

       43.     Display’s claims for damages, if any, against FCA for alleged infringement of the

Asserted Patent are limited by 35 U.S.C. §§ 286 and/or 288.

                                     PRAYER FOR RELIEF

       FCA denies any and all allegations contained in the remainder of the Complaint and denies

that Display is entitled to any of the relief requested in paragraphs (a) through (e) of its Prayer for

Relief or to any relief in any form whatsoever from FCA. FCA respectfully requests that the Court:

       A.      Dismiss Display’s Complaint with prejudice, and that Display take nothing by way

       of its Complaint;

       B.      Determine that Display is not entitled to any of its requested relief, or any relief

       whatsoever;

       C.      Award FCA its costs and disbursements in this action;

       D.      Declare this case exceptional pursuant to 35 U.S.C. § 285 and award FCA its

       reasonable attorneys’ fees and costs in this action; and

       E.      Grant FCA such other and further relief as this Court deems just and proper.




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                                   DEMAND FOR JURY TRIAL

        In accordance with Rule 38 of the Federal Rules of Civil Procedure FCA respectfully

demands a jury trial of all issues triable to a jury in this action.



                                                        POTTER ANDERSON & CORROON LLP
 OF COUNSEL:

 Frank C. Cimino, Jr., Esq.                             By: /s/ Philip A. Rovner
 Megan S. Woodworth, Esq.                                      Philip A. Rovner (#3215)
 Jonathan L. Falkler, Esq.                                    Jonathan A. Choa (#5319)
 VENABLE LLP                                                   P.O. Box 951
 600 Massachusetts Avenue, NW                                  Wilmington, DE 19899
 Washington, DC 20001                                          (302) 984-6000
 (202) 344-4569                                               provner@potteranderson.com
                                                              jchoa@potteranderson.com
 William Hector, Esq.
 VENABLE LLP                                            Attorneys for Defendant
 101 California Street
 Suite 3800
 San Francisco, CA 94111
 (415) 653-3750
 WAHector@Venable.com

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